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                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Norfolk Division

   CSX TRANSPORTATION, INC.,                         )
                                                     )
                                  Plaintiff,         )
                                                     )
   v.                                                )                Case No. 2:18-cv-530
                                                     )
   NORFOLK SOUTHERN RAILWAY                          )
   COMPANY, et al.,                                  )
                                                     )
                                  Defendants.        )

          NOTICE OF FILING SUPPLEMENTAL OBJECTIONS TO DEPOSITION

         Defendants Norfolk Southern Railway Company (“NS” or “NSR”) and Norfolk &

  Portsmouth Belt Line Railroad Company (“Belt Line” or “NPBL”), by counsel, hereby submits a

  supplemental objection, attached hereto as Exhibit A, to the de bene esse deposition of Christopher

  Luebbers held on January 10, 2023. Defendants reserve, and do not waive, their objections to the

  exhibits used during the deposition, a list of which are hereto as Exhibit B, but do not seek a

  pretrial resolution of these reserved objections to exhibits, with the understanding that resolution

  of these previously-asserted objections to exhibits, and ultimate admissibility of related testimony,

  will be reserved for trial and/or are subject to pending Objection(s) to prior rulings.



                                    [Signatures on following page]
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      Dated: January 12, 2023                        Respectfully submitted,

       NORFOLK & PORTSMOUTH                          NORFOLK SOUTHERN RAILWAY
       BELT LINE RAILROAD                            COMPANY
       COMPANY

                                               /s/
/s/    /s/ W. Ryan Snow                              /s/ Alan D. Wingfield
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                                  CERTIFICATE OF SERVICE

         I certify that on this 12th day of January, 2023, a true and correct copy of the foregoing

  was served on all counsel of record via Notice of Electronic Filing by filing with this Court’s

  CM/ECF system.

                                               Respectfully submitted,

                                               NORFOLK SOUTHERN RAILWAY
                                               COMPANY

                                               /s/ Alan D. Wingfield
                                               Alan D. Wingfield (VSB No. 27489)
